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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 TRAVELERS PROPERTY CASUALTY
 COMPANY OF AMERICA,

              Plaintiff
                                                Case No. 2:24-cv-01919-JDW
       v.

 PODCON, INC. d/b/a METLAB, et al.,

              Defendant


                                         ORDER

       AND NOW, this 16th day of July, 2024, upon consideration of Plaintiff Travelers

Property Casualty Company of America’s letter requesting a one-week extension within

which to file an answer to the Counterclaim of Defendant Podcon, Inc. d/b/a Metlab, it is

ORDERED that Plaintiff shall file its Answer to Defendant’s Podcon, Inc.’s Counterclaim on

or before July 29, 2024.

                                                 BY THE COURT:


                                                 /s/ Joshua D. Wolson
                                                 JOSHUA D. WOLSON, J.




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